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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NUMBER 18-24996-CV-MOORE
                                    (17-20081-CR-MOORE)
                                 MAGISTRATE JUDGE REID


  ABDUL PIERRELUS,

          Movant,

  v.

  UNITED STATES OF AMERICA,

        Respondent.
  _____________________________/

                          RESPONSE TO ORDER TO SHOW CAUSE

          Petitioner, Abdul Pierrelus, through undersigned counsel, responds to the Court’s order

  to show cause, and in support states:

          On November 8, 2019, Mr. Pierrelus filed his pretrial narrative under seal. On

  November 12, this Court issued an order to show cause why the pretrial narrative was filed

  under seal. The reason for the sealed filing is because in providing the Court a narrative of Mr.

  Pierrelus’s claims, it is necessary to provide some detail about his attempted cooperation with the

  government. That cooperation involved, inter alia, providing information about a codefendant

  that is a fugitive.

          Admittedly, “material filed in connection with pretrial motions that require judicial

  resolution of the merits is subject to the common-law right [of access]”. Chi. Tribune Co. v.

  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1312 (11th Cir. 2001). However, Mr. Pierrelus’s pretrial

  narrative is not a motion at all, only an instrument for laying out the claims that will be made at a

  hearing. That is more akin to discovery, which is not subject to the common law right of access.
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  Romero v. Drummond Co., 480 F.3d 1234, 1245 (11th Cir. 2007). Moreover, the common law right

  of access may be overcome by a showing of good cause, which requires “balanc[ing] the asserted

  right of access against the other party’s interest in keeping the information confidential.” Chi.

  Tribune, 263 F.3d at 1309. Mr. Pierrelus respectfully asserts that the interest in his security and

  the integrity of an ongoing investigation overcome the limited interest in disclosure in this matter.

                                                         Respectfully submitted,

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                                                         By:     ___________________________
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 19, 2019, I served Assistant United States

  Attorney Frank Tamen via email at frank.tamen@usdoj.gov.




                                                                 ___________________________
                                                                 Orlando do Campo
